Case 2:18-cv-13761-SFC-APP ECF No. 33 filed 03/04/19 Page|D.463 Page 1 of 2

UN|TED STATES D|STR|CT COURT
FOR THE EASTERN D!STRICT OF M|CH|GAN
SOUTHERN D|V|SiON

N|ARK HlGBEE, CASE NO. 2118-CV-13761

P|ain'tiff, JUDGE SEAN F. COX
MAG. JUDGE ANTHONY P. PATT|
V

EASTERN |V||CH|GAN UN|VERSITY, THE

BOARD OF REGENTS OF EASTERN |V||CH|GAN
UNIVERS|TY, JAlV|ES S|V||TH, JA|V|ES CARROLL,
WADE TORNQUIST, JOL|NE DAV¥S, DAV|D TURNER,
DAVID WO|KE,` RHONDA LONGWORTH, |VI¥CHELLE
CRU|V|N|, |V|ARY TREDER LANG, DENN|S BEAGEN,
|V||CHAEL HAWKS, EUN|CE JEFFR|ES, |V||CHAEL

. |V|ORR|S, JA|V|ES WEBB AND ALEXANDER S||V|PSON,

 

Defendants.
Law Office of Glen N. Lenhoff Dykema Gossett, PLLC
By: G|en 'N. Lenhoff (P32610) By: James Hermon (P53765)
Robert Kent-Bryant (P40806) Ryan VanOver (P82007)
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PLA|NTIFF MARK HlGBEE’S ANSWER TO lNQlVlDUAL DEFENDANTS’
N|OT|ON TO DlSNIlSS PURSUANT TO FED. R. ClV. P. 1213"6|

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For the reasons set forth in the attached Brief in Support of Plaintiff’s
Answer to individual Defendants’ l\/|otion to Disrniss Pursuant to Fed. R. Civ,
P. 12(B)(6)1 Plaintiff respectfully requests this Honorable court deny the

aforestated motion.
Respectfully submitted,

/s/Glen N. Lenhoff /s/Robert D. Kent-Brvant

GLEN N. LENHOFF (P32610) ROBERT K_ENT-BRYANT(P40806)
LaW Office of Glen N. Lenhoff LaW Office of Glen N. Lenhoff
Attorney for Plaintiff Attorney for P|aintiff

Dated: 03/01/19 Dated: 03/0‘|/'|9

G:i'CLlENTS/Higbeelans to mtn to dismiss - ind

